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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALI RAZAK, et al.,

                                Plaintiffs,                     No. 16-cv-573-MMB

                        v.
                                                                Judge Michael M. Baylson
UBER TECHNOLOGIES, INC., et al.,

                                Defendants.


         MOTION BY THE COMMONWEALTH OF PENNSYLVANIA
          TO FILE AMICUS BRIEF IN SUPPORT OF PLAINTIFFS’
 MOTION FOR A SEPARATE JURY INSTRUCTION AND QUESTION REGARDING
                       PENNSYLVANIA LAW

        The Commonwealth of Pennsylvania respectfully moves to file the attached amicus

curiae brief (Exhibit A) in support of the Plaintiffs’ motion for a separate jury instruction and

question regarding Pennsylvania law.

        District courts have “inherent authority” to permit amicus curiae to file briefs. Liberty

Resources, Inc. v. Philadelphia Housing Authority, 395 F. Supp. 2d 206, 209 (E.D. Pa. 2005)

(citing Avellino v. Herron, 991 F. Supp. 3d 730, 732 (E.D. Pa. 1998)). Courts frequently

welcome amicus briefs “where an issue of general public interest is at stake” or where amicus

briefs “will ensure a complete and plenary presentation of difficult issues.” Id. (internal

quotations omitted). Thus, a court evaluating whether to permit the filing of an amicus brief

considers whether: "(1) the petitioner has a 'special interest' in the particular case; (2) the

petitioner's interest is not represented competently or at all in the case; (3) the proffered

information is timely and useful; and (4) the petitioner is not partial to a particular outcome in
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the case." Liberty Res., Inc., 395 F.Supp.2d at 209 (citing Sciotto v. Marple Newtown School

Dist. 70 F. Supp. 2d 553, 555 (E.D. Pa. 1999)).

       Here, the criteria to permit the filing of an amicus brief is sufficiently satisfied. First, the

legal issues at stake carry profound ramifications for the general public interest, and the

Commonwealth of Pennsylvania can provide context for the relevance of the specific state law

claims raised in this case. It is also true that the Commonwealth has an interest in properly

resolving whether the Pennsylvania Minimum Wage Act, 43 P.S. §§ 333.101-333.115, and the

Wage Payment and Collection Law, 43 P.S. §§ 260.1-260.45, must be interpreted as providing

more protections to Pennsylvania’s workers than the federal Fair Labor Standards Act, 29 U.S.C.

§§ 201, et seq. That interest derives from the Commonwealth’s goal of ensuring that all remedial

state statutes are given their fullest interpretation, as intended by the Pennsylvania General

Assembly, to achieve their stated purpose. This Court’s interpretation of the pending state law

claims will have a deep impact on the legal protections available to members of Pennsylvania’s

workforce, in which the Attorney General, as the chief law enforcement officer of the

Commonwealth of Pennsylvania, maintains a substantial interest.

       For the reasons above, the Commonwealth’s motion for leave to file the attached

proposed amicus brief should be granted.



February 7, 2024                                   Respectfully submitted,

                                                   MICHELLE HENRY
                                                   Attorney General
                                                   Commonwealth of Pennsylvania

                                                   ELIZABETH SCHNEIDER
                                                   Chief Deputy Attorney General




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                                CERTIFICATE OF SERVICE

       I, Ryan Sypniewski, Esq., hereby certify that on the date set forth below, I caused the

foregoing Motion for Leave to File Amicus Brief in Support of Plaintiffs’ Motion for a Separate

Jury Instruction and Question Regarding Pennsylvania Law to be served on all parties of record

via the Court’s CM/ECF system.

Dated: February 7, 2024



                                             /s/ Ryan Sypniewski
                                             Ryan Sypniewski
                                             Deputy Attorney General
